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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

REGINALD HENDERSON,                          )
                                             )      Case No. 23 CV 4802
               Plaintiff,                    )
                                             )      Honorable Judge Durkin
       v.                                    )
                                             )
KENNETH BOUDREAU, et al,                     )      JURY TRIAL DEMANDED
                                             )
               Defendants.                   )



SEAN TYLER,                                  )
                                             )      Case No. 23 CV 4803
               Plaintiff,                    )
                                             )      Honorable Judge Durkin
       v.                                    )
                                             )
THE CITY OF CHICAGO, et al,                  )      JURY TRIAL DEMANDED
                                             )
               Defendants.                   )

        MOTION FOR HIPAA AND MENTAL HEALTH PROTECTIVE ORDER

       Defendants the City of Chicago, former Chicago Police Officers Kenneth Boudreau, John

Halloran, Michael Clancy, James O’Brian, Patrick Golden, Richard Coughlin, Geri Lynn

Yanow, as the Independent Administrator of the Estate of William Foley (“Defendant Officers”),

and former Assistant State’s Attorneys Virgina Bigane and Steven Klaczynski, (collectively

“Defendants”), by their respective undersigned counsel, move for entry of a HIPAA and Mental

Health Protective Order and state:

                                       INTRODUCTION

       Given Plaintiffs Sean Tyler (“Tyler”) and Reginald Henderson (“Henderson”) claims of

physical, psychological, and emotional harm, the parties agree that a Health Insurance Portability

and Accountability Act (“HIPAA”) and Mental Health and Developmental Disabilities
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Confidentiality Act (“MHDDCA”) protective order (“HIPAA Order”) is necessary to obtain

Tyler’s and Henderson’s medical and mental health records. However, the parties disagree over

whether Tyler and Henderson are entitled to have documents subpoenaed by Defendants to be

returnable to Plaintiff’s counsel to conduct a screening for alleged privilege assertions their

medical and mental health records before disclosure to Defendants. The Defendants assert Tyler

and Henderson have waived any applicable privilege, so no review is necessary and respectfully

request this Court to enter Defendants’ proposed Qualified HIPAA and Mental Health Protective

Order, which has been submitted to the Judge’s proposed order email consistent with this Court’s

standing orders.

                                      LEGAL STANDARDS

       The purpose of discovery is to “make a trial less a game of blind man’s bluff and more a

fair contest with the basic issues and facts disclosed to the fullest practicable extent.” United

States v. Procter & Gamble Co., 356 U.S. 677, 682 (1958). The Court retains broad discretion to

manage this discovery process, including through the entry of protective orders. Geiger v. Aetna

Life Ins. Co., 845 F.3d 357, 365 (7th Cir. 2017). To that end, Federal Rule of Civil Procedure

26(b)(1) authorizes the Court to order discovery of any material relevant to this litigation, while

Rule 26(c)(1) permits entry of a protective order concerning certain discovery upon a showing of

good cause. See Fed. R. 26(b)(1), (c)(1).

       In the context of discovery, relevancy is broadly construed to encompass “any matter that

bears on, or that reasonably could lead to other matter that could bear on, any issue that is or may

be in the case.” Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978). “Relevancy for

discovery is flexible and has a broader meaning than admissibility at trial.” White v. Kenneth

Warren & Son, Ltd., 203 F.R.D. 364, 366 (N.D. Ill. 2001) (citing Eggleston v. Chicago



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Journeymen Plumbers’ Local Union No. 130, U.A., 657 F.2d 890, 903 (7th Cir.1981)). Because

the core of the requested discovery here—Tyler’s and Henderson’s medical and mental health

records—relates to their claims for damages, that discovery is indisputably relevant under Rule

26(b)(1.) Laudicina v. City of Crystal Lake, 328 F.R.D. 510, 518 (N.D. Ill. 2018) (“No citation is

needed to support the proposition that discovery related to a plaintiff’s claim for damages is

relevant.”).

        Federal and Illinois statutes protect the confidentiality of medical and mental health

information. See generally HIPAA, 42 U.S.C. § 1320d et seq.; the Illinois Mental Health and

Developmental Disabilities and Confidentiality Act (“IMHDDCA”), 740 ILCS 110/1 et seq.; 20

ILCS 301/30-5; 42 U.S.C § 290dd-2; 42 CFR Part 2. All these confidentiality provisions have

exceptions to their protections, however, which permit disclosure pursuant to court order. See

HIPAA 45 C.F.R. § 164.512(c); IMHDDCA 740 ILCS 110/10(d); 20 ILCS 301/30-5(bb)(2)(E);

42 U.S.C § 290dd-2(b)(2)(C); 42 C.F.R. 2.61-2.65.

        Federal Rule of Evidence 501 governs the applicability of privilege and authorizes courts

to define the boundaries of privilege “in light of reason and experience.” Fed. R. Evid. 501.

Federal common law determines whether privilege applies in federal causes of action even if

accompanied by supplemental state law claims. See Northwestern Memorial Hospital v.

Ashcroft, 362 F.3d 923, 926 (7th Cir. 2004); Memorial Hosp. for McHenry County v. Shadur,

664 F.2d 1058, 1061, n. 3 (7th Cir. 1981). Federal common law does not recognize a physician-

patient privilege. See United States v. Bek, 493 F.3d 790, 801-02 (7th Cir. 2007); Northwestern,

362 F.3d at 926. The Supreme Court in Jaffee v. Redmond did recognize a psychotherapist-

patient privilege. 518 U.S. 1, 10 (1996). But the psychotherapist-patient privilege recognized in

Jaffee is not absolute and is subject to waiver. (Id. at 15 n.14.) Specifically, where a litigant puts



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his mental state at issue, he waives the psychotherapist-patient privilege, entitling the opposing

party to fully investigate the claims injected into the litigation. Doe v. Oberweis, 456 F.3d 704,

718 (7th Cir. 2006).

                                           ARGUMENT

   I.      Tyler and Henderson Have Placed Their Medical and Mental Health Conditions
           at Issue, Waiving the Psychotherapist-Patient Privilege.

        Tyler and Henderson both allege Defendants “framed” them for the 1994 murder of

Rodney Collins by manufacturing admissions from them both. Ex. 1 (Henderson First Amended

Complaint., Dkt. 57 at ¶¶ 2-8); Ex. 2 (Tyler First Amended Complaint., Dkt. 41 at ¶¶ 1-3.) Tyler

and Henderson further allege Defendants coerced, threatened, and manipulated witness

statements prior to extracting their involuntary confessions, specifically by physically coercing a

confession from Henderson and by physically and psychologically torturing a confession out of

Tyler. (Dkt. 57 at ¶ 8; Dkt. 41 at ¶ 5.) Henderson specifically alleges he was shackled to a wall

for an extended period of time prior to being questioned by Defendant Officers, and during his

interrogation he claims he was grabbed by the throat, threatened with wrongful prosecution, had

his head slammed into a desk, and was struck multiple times. (Dkt. 57 at ¶¶ 45-52.) Tyler claims

Defendant Officers beat him in the chest and slapped his face numerous times and threatened

continued abuse if he did not cooperate. (Dkt. 41 at ¶¶ 56-58.) Further, Tyler alleges after he

confessed, he was taken to the emergency room because he was vomiting blood. (Dkt. 41 at ¶

62.). As a result, Tyler and Henderson declare they were wrongfully convicted, causing them to

lose twenty-five and twenty-six years of their lives for which they suffered, and continue to

suffer, physical and emotional harm. (Dkt. 57 at ¶ 111-113, 121, 131, 138, 146, 154, 160; Dkt.

41 at ¶ 110-114,120, 136,138, 156, 168.)




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       Tyler and Henderson have clearly injected their physical conditions into this case, and

because a federal physician-patient privilege is unrecognized any claims to a “privilege review”

of subpoenaed medical records of their physical treatment and conditions is meritless.

       As to Tyler and Henderson’s mental health records, Defendants do not come before this

Court arguing that Tyler or Henderson has waived the psychotherapist privilege by simply filing

this lawsuit and alleging damages for emotional distress. Rather, Defendants maintain—consistent

with the law in the Seventh Circuit—that when a Plaintiff places his psychological state at issue,

Defendants have a right to conduct discovery into those claims through his medical and mental

health records. Laudicina v. City of Crystal Lake, 328 F.R.D. 510, 515 (N.D. Ill. 2018). Here, Tyler

and Henderson have injected their psychological state into this case by asserting emotional and

psychological harm as a substantial component of their damages claim. Tyler and Henderson

cannot use the psychotherapist privilege as both a “sword and shield,” and Defendants respectfully

request this Court find Tyler and Henderson have waived their psychotherapist privilege and enter

Defendants’ proposed protective order that permits defense counsel to obtain the records necessary

to defend against both Tyler’s and Henderson’s serious allegations.

       In addition to their claims of physical injury noted above, both Tyler’s and Henderson’s

First Amended Complaints are replete with claims of emotional and psychological harm. Tyler

and Henderson allege that their experiences of being wrongfully imprisoned was traumatizing

both during incarceration and in the aftermath, including to the present day. Henderson alleges

“[he] has suffered and continues to suffer enormous physical and psychological injury as a direct

and proximate result of Defendants’ misconduct.” (Dkt. 57 at ¶ 111) (emphasis added).

Henderson further alleges he lost the ability to raise his daughter. (Id. at ¶ 112). Specifically,

Tyler claims he has experienced a vast loss of liberty and suffered tremendous hardship. (Dkt. 41



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at ¶¶ 109-114). This included losing decades of time where he was stripped of the ability to share

holidays and important life events with his loved ones. (Id. at ¶ 111). In connection with his legal

claims, Tyler claims as damages (among other things) “tremendous damage, including physical

injury, psychological trauma, and emotional damages all caused by Defendants’ misconduct.”

(Id. at ¶ 114) (emphasis added). Tyler and Henderson have explicitly placed both their physical

and emotional health over the last three decades at issue in this case.

        In comparing medical privileges to the attorney-client privilege, courts have stated that

“waiver is based upon the obvious principle of fairness that a party ‘cannot inject his or her

psychological treatment, conditions, or symptoms into a case and expect to be able to prevent

discovery of information relevant to those issues.’” Kronenberg v. Baker & McKenzie LLP, 747

F. Supp. 2d 983, 989 (N.D. Ill. 2010) (citing Santelli v. Electro–Motive, 188 F.R.D. 306, 309

(N.D. Ill. 1999)). 1 Courts have been very clear that a party “cannot use a privilege as both a

shield and a sword.” Kronenberg, 747 F. Supp. 2d at 989 (citing In re Grand Jury Proceedings,

219 F.3d 175, 182 (2d Cir. 2000)). Here Tyler and Henderson argue for the opportunity to

precisely do that by shielding their mental health records from discovery while being able to

claim significant mental health injuries.

        The “rule espoused in Oberweis” has been described as “straightforward and

unequivocal.” Taylor v. City of Chicago, No. 14 C 737, 2016 WL 5404603, at *3 (N.D. Ill.

August 28, 2016). Laudicina v. City of Crystal Lake, 328 F.R.D. at 514 (N.D. Ill.2018) (noting

that “the language that the Seventh Circuit uses in Oberweis is broad and sweeping,” and “the



 In re Grand Jury Proceedings, 219 F.3d 175, 182 (2d Cir.2000) (“implied waiver may be found where
the privilege holder ‘asserts a claim that in fairness requires examination of protected communications.’”)
(attorney-client privilege); Lorenz v. Valley Forge Insurance. Co., 815 F.2d 1095, 1098 (7th Cir.1987)
(“Implicit disclosure can occur when a holder ... relies on a legal claim or defense, the truthful resolution
of which will require examining confidential communications.”).

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judges on the Seventh Circuit are careful writers: They say what they mean and mean what they

say. The broad language hedges no bets.”) Here, Tyler and Henderson bring claims premised on

their physical and mental health and allege damages based on severe impact to their mental and

physical health resulting directly from Defendants’ purported misconduct. (Dkt. 57 at ¶¶ 12, 111-

113; Dkt. 41 at ¶¶ 109-114.) Clearly, considering their own allegations, Tyler and Henderson

have placed both their physical and mental health directly at issue in this litigation. Put simply,

Tyler and Henderson cannot maintain an action for medical and mental health damages and then

also assert privilege and prevent discovery of information about their mental health conditions.

See Oberweis, 456 F.3d at 718.

        Nonetheless, Tyler and Henderson still insist that they can reserve the right to assert

privilege until after they preview their records, essentially permitting them to choose which

records to disclose and which records to insulate from discovery. But this precise position,

advanced by the same plaintiff’s counsel, has been rejected by multiple judges in the Northern

District. 2 By way of example, Magistrate Judge Valdez explained that “[Plaintiff] contends that

his proposed production scheme [an advance preview of records] is necessary to ensure that any

privileges are not waived. Plaintiff misunderstands that, by putting his psychological history at

issue, he has already waived any such privileges related to his psychological records.”

Kluppelberg v. Burge, et al., No. 13 C 3963, Dkt. 136, at 2 (April 10, 2014, J. Valdez) (emphasis




 Defendants acknowledge that other courts in this district have accepted Plaintiff’s 7-day review
argument. See, e.g., Robinson v. Frano, et al., 23 C 2724, Dkt. 74 (N.D. Ill. May 6, 24)(citing Gecht, 23 C
1742)(McShain); Lugo v. Guevara, et al., 23 C 1738, Dkt. 94 (N.D. Ill. April 26, 24)(citing Abrego, 23 C
1740)(Maldonado); Abrego v. Guevara, et al., 23 C 1740, Dkt. 116 (N.D. Ill. April 22,
24)(Seeger);(Martinez v. Guevara, 23-cv-01741, Dtk. 114 (N.D. Ill. Dec. 11, 2023)(Finnegan); Billups-
Dryer v. Sheehan, 20-cv-1597 (N.D. Ill. Dec. 7, 2022), Dkt. 101; Liggins v. Chicago, 20-cv-4085 (N.D.
Ill. Mar. 31, 2021), Dkt. 47; Rodriguez v. Guevara, et al., 18 C 07951, Dkt. 71 (N.D. Ill. Jan. 8,
20)(Rowland)(Court allowing a 3-day review period).


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in original) see also Sopron v. Cassidy, No. 19-CV-8254, Dkt. 216, (Mar. 21, 2023, J. Valdez);

Iglesias v. Guevara, No. 19-CV-6508, Dkt. 132, (June 30, 2021, J. Valdez.) In Coleman v. City

of Chicago, No. 1:18-cv-00998, 2019 WL 7049918, at *4 (N.D. Ill. Dec. 23, 2019), the Court

found waiver of the psychotherapist privilege stating, “the Court shares Defendants’ concern that

allowing a plaintiff to cherry-pick favorable mental health records and claim privilege over

records weakening their emotional damages claims, thereby enabling the plaintiff to use the

privilege as both shield and sword.”

       This view has since been echoed by multiple courts in this district. Laudicina, 328 F.R.D.

at 520 (“Although the mental health records are privileged, Plaintiff waived the privilege by

placing his mental health at issue.”); Liebich v. DelGuidice, No. 20 C 2368, Dkt. 99, at *3 (N.D.

Ill. Feb. 12, 2021) (holding “plaintiff has waived any psychotherapist-patient privilege that might

otherwise apply” because plaintiff “put his mental state squarely at issue in this case.”) Jakes v.

Boudreau, No. 19 C 2204, 2020 WL 5297007, at *2 (N.D. Ill. Sept. 4, 2020) (“[T]he Court need

not decide in this case whether the broad or middle-ground approach [to waiver] governs.

Because Plaintiff has alleged emotional-distress damages and those allegations go beyond

‘garden variety,’ as follows, the Court concludes that Plaintiff has waived his psychotherapist-

patient privilege under either approach.”).

       Additionally, there have been several recent decisions made by Courts in this district,

such as a May 2, 2024 order in Hernandez v. Guevara, et al., 23 CV 01737 (Dkt. 111)(Daniel,

J.), in which the court denied Plaintiffs’ request for a HIPAA protective order allowing them a

psychotherapist-patient privilege review of mental health records subpoenaed by Defendants,

holding that Plaintiffs’ allegations of “loss of liberty, great mental anguish, humiliation,

degradation, physical and emotional pain and suffering, and other grievous and continuing



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injuries. . .” placed their mental health not only at issue, but beyond the reach of the privilege

they sought to assert. (A copy of the Order is attached hereto as Exhibit 3.) On April 25, 2024, in

Flores v. Guevara, et al., 23 CV 1739 (Dkt. 75), Judge Tharp also denied the portion of

Plaintiff’s proposed HIPAA protective order which provided for a 7-day period for a

psychotherapist-patient privilege review of subpoenaed records stating the Court believed it to be

problematic due to “…the opportunity to shield from discovery documents subpoenaed by the

defendants from third parties when the plaintiff’s own allegations have made those documents

relevant.” (A copy of that Order is attached hereto as Exhibit 4.) On March 6, 2024, in Rivera v.

Guevara, et al., 23 CV 1739 (Dkt. 98), then Magistrate Harjani also rejected the portion of

Rivera's proposed HIPAA protective order which provided for a 7-day period for a

psychotherapist-patient privilege review of subpoenaed records. (A copy of that Order is

attached hereto as Exhibit 5.) Similarly, on January 22, 2024, in Daniel Rodriguez v. Guevara, et

al., then Magistrate Harjani, after noting that Rodriguez broadly alleged severe physical and

emotional harm, denied Plaintiff’s request to include a provision in the HIPAA Order requiring

all medical records be first provided to Plaintiff and instead adopted Defendants’ proposed

HIPAA order that contained no such provision. Rodriguez, 22 CV 6141 (Dkt. 118). (A copy of

that minute entry is attached hereto as Exhibit 6.)

       Significantly, Tyler and Henderson have not yet asserted the psychotherapist-patient

privilege, nor have they pointed to a specific set of documents that are the subject of their

concern. Rather, their concerns are both general and hypothetical in nature. Privilege reviews are

not intended to enable obstruction, and the purpose of privilege is not such that a party can pick-

and-choose what evidence is favorable to it. Eli Lilly and Co. v. Zenith Goldline

Pharmaceuticals, Inc., 149 F. Supp. 2d 659, 661 (S.D. Ind., July 4, 2001) (In discussing waiver



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of attorney-client privilege, “A party waiving the privilege may not merely pick and choose,

disclosing favorable communications and concealing unfavorable ones.”) Tyler and Henderson

are not entitled to an advanced preview of subpoenaed records as a precondition to Defendants’

access to discovery of medical and mental health records, and their endeavor to do so will be

futile and serve only to frustrate the discovery process and needlessly delay Defendants’ receipt

of the documents.

   II.      Good Cause Exists to Enter Defendants’ Proposed HIPAA/Mental Health
            Protective Order

         Discovery of Tyler and Henderson’s medical and mental health conditions are relevant

and proportional to the needs of the case. Both Tyler and Henderson’s current and past medical

and mental health records will directly inform Defendants about the true nature of their alleged

damages—including the cause, nature, extent, and duration of their claimed physical and

psychological injuries and conditions. Defendants will additionally be required to gather

evidence of Tyler and Henderson’s baseline medical and mental health conditions prior to the

alleged incident. This information is indispensable to determining whether there has been any

change in the nature and extent of their conditions, based on their now-claimed damages of

physical and psychological pain and suffering.

         Indeed, there is no other source of evidence that can sufficiently demonstrate the true

nature of Tyler and Henderson’s medical and mental health conditions. If Defendants are unable

to fully discover their mental and medical health conditions by obtaining records, they will be

unduly—and irreparably—prejudiced in their defense against Tyler and Henderson’s claimed

mental and physical damages.

         In addition, disclosure of Tyler and Henderson’s medical and mental health records is

more important to the interests of substantial justice than the interest of protecting their


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relationship with their physicians and mental health professionals. Indeed, Tyler, Henderson and

their respective counsel have made the conscious decision to inject their medical and mental

health conditions into the cases. Tyler’s First Amended Complaint states that his physical and

mental health condition has suffered. (Dkt. 41 at ¶¶ 109-114, 120, 138, 156, 168.) Henderson’s

First Amended Complaint also asserts that his physical and mental health condition has suffered.

(Dkt. 57 at ¶¶ 111-113, 121, 131, 138, 146, 154, 160.) Clearly, Tyler and Henderson have

already placed their mental health and medical condition in the public record, which diminishes

their interest in protecting these records. Accordingly, their interest in protecting these records

does not overcome the good cause Defendants have to obtain their health information to

determine the cause, nature, extent, and duration of the very physical and mental

injuries/conditions that both Tyler and Henderson ascribes to Defendants’ actions.

       Of course a protective order is necessary here because Tyler and Henderson’s medical

and mental health providers will not disclose records unless the Court enters a protective order

permitting such disclosure pursuant to the exceptions in HIPAA (45 C.F.R. § 162 and 164), IL

MHDDCA (740 ILCS 110/3), and Illinois state and federal law that protects certain

rehabilitation records related to drug and alcohol use (20 ILCS 301/30-5, 42 U.S.C. § 290dd-2,

and 42 C.F.R. Part 2). Accordingly, Defendants have submitted their proposed protective order

to the Judge’s proposed order email inbox consistent with this Court’s standing orders.

                                 The Parties’ Compliance with L.R. 37.2

       Counsel for the parties engaged in a telephone conference on May 13, 2024, where each

party discussed their respective positions on the issue presented by Defendants’ contention that

Plaintiff has waived any privilege(s) relative to his medical and mental health records by placing

his physical and emotional health at issue with his pleadings.



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       Following the parties’ discussion, the parties communicated via email on May 20, 2024

and June 7, 2024 and remain at an impasse because Tyler and Henderson insist that the HIPAA

Orders contain a provision mandating that all medical and mental health records subpoenaed by

Defendants are returned to Plaintiff for a seven-day review period prior to production to

Defendants. As detailed above, it is Defendants’ position that imposition of a review on all such

records is futile because any privilege has already been waived, and that the protective order should

be entered without a provision requiring that the documents first be provided to Plaintiff for review.

                                   Proposed Agreed Briefing Schedule

       Plaintiffs’ Response to be filed by July 3, 2024

       Defendants Reply to be filed by July 19, 2024

                                               CONCLUSION

       WHEREFORE, Defendants respectfully request the Court enter the Proposed HIPAA and

Mental Health Protective Confidentiality Order, pursuant to Federal Rule of Civil Procedure

26(b)(1), and for such further relief as this Court deems appropriate.

Date: June 14, 2024                                   Respectfully submitted,

/s/Andrew J. Grill                                    /s/ Alexis M. Gamboa
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                                CERTIFICATE OF SERVICE

        I hereby certify under penalty of perjury pursuant to 28 U.S.C.A. § 1746 that on June 14,
2024, I electronically filed the foregoing Motion for HIPAA and Mental Health Protective
Order with the Clerk of the Court using the CM/ECF system which will send notification of
such filing to the following CM/ECF participants listed below.

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